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 Source: https://thrivecolorado.com/services/weight-loss-clinic-in-denver/tirzepatide-in-denver/;
 https://perma.cc/Y3VM-JLDJ




 Source: https://thrivecolorado.com/store/Thrive-Tirzepatide-Injections-p509533406




 Source: https://thrivecolorado.com/services/weight-loss-clinic-in-denver/tirzepatide-in-denver/




 Source: https://thrivecolorado.com/store/Thrive-Tirzepatide-Injections-p509533406
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 Source: https://thrivecolorado.com/services/weight-loss-clinic-in-denver/tirzepatide-in-denver/




 Source: https://thrivecolorado.com/store/Thrive-Tirzepatide-Injections-p509533406
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 Source: https://www.instagram.com/p/DBRNX0fR7Dn/?igsh=bmltYmN3ZzB0b2U%3D




 Source: https://thrivecolorado.com/services/weight-loss-clinic-in-denver/tirzepatide-in-denver/
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 Source: https://thrivecolorado.com/store/Thrive-MEGALean-PREMIUM-Tirzepatide-Injections-
 p509533406
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 Source: https://www.facebook.com/thrivehealthsolutionsco
